Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.1 Filed 09/05/19 Page 1 of 28 QZ

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

UNITED STATES DISTRICT COURT
for the

Eastern District of Michigan
Southern Division

Case:2:19-cv-12608

Judge: Hood, Denise Page

MJ: Grand, David R. 3-09 PM __
Filed: 09-05-2019 At 02:

CMP SIKORA v INTERNAL REVENUE SERVI

CE (sk)

Joseph A. Sikora

| Plaintiff(s)

(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-\V-

Internal Revenue Service

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Nowe” Nene nme Seem Neer Nee” Neer” Neeson” Smee” See” Nace eee Neem” Neem See”

COMPLAINT AND REQUEST FOR INJUNCTION

1, The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Joseph A. Sikora
Street Address 19615 Bethel Church
City and County Manchester, Washtenaw County
State and Zip Code Michigan, 48158
Telephone Number 517-554-0745
E-mail Address jajasikora@gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title if mown). Attach additional pages if needed.

Page l of 6

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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

Defendant No. |

Name Internal Revenue Service

Job or Title (if known) Campus Collection, Andover Withholding Compliance Unit
Street Address 310 Lowell Street, stop 837

City and County Andover, Essex County

State and Zip Code MA, 01810

Telephone Number 1-855-839-2235

E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (f known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties -
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
DX] Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

5" & 14" Amendments to the U.S. Constitution, Enoch v. Williams Pack. & Nav. Co.,370 U.S. 1; 82
Sup. Ct. 1128(1962), Thornton vy. U.S., 493 f.2d 164(3" Cir. 1974), Reisman v. Caplin, 375 U.S. 440
(1964), Long v. IRS, 693 F.2d 907, 910 (9 Cir. 1982), Brushaber v. Union Pacific R.R., 240 U.S. 1
(1916), Flint v. Stone Tracy Co., 220 U.S. 107 (1911), Redfield v. Fisher, 135 Or.180, 292, P. 813, 819
(Ore. 1930), Cary v. Bellingham, 41 Wn.2d 468, 250 P.2d 114 (1952), Jack Cole v. MacFarland, 337
S.W.2d 453, 455-56 (Tenn. 1960), 28 U.S.C. ch. 85 sec.;1331, 1340, 1343, 42 U.S.C. ch. 21 sec.;1983,
1985, 26 U.S.C. sec.:61, 83(a), 18 U.S.C. ch. 31 sec.641, 18 U.S.C. sec.241, 18 U.S.C. ch. 63 sec.1341

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, j@ame) Joseph A. Sikora , 18 a citizen of the

State of (name) Michigan

b. If the plaintiff is a corporation
The plaintiff, game) , is incorporated

under the laws of the State of (name) >

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (ame) , 18 a citizen of

Page Sef ©

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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

the State of fname) . Or is acitizen of
(foreign nation)

b. If the defendant is a corporation
The defendant, (ame) Internal Revenue Service , is incorporated under
the laws of the State of (name) Washington D.C. , and has its

principal place of business in the State of (name) Washington D.C.

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

the compulsory distraint of the plaintiff's income will cause; irreparable damages to his ability
to maintain a reasonable lifestyle, Maintain his Homestead/ place of residence, furthermore, put
plaintiff's ability to maintain his employement in certain jeopardy

I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if

needed.

A. Where did the events giving rise to your claim(s) occur?
Plaintiff's place of employement; Ford Motor Company, Dearborn Truck Final Assembly Plant,
3001 Miller Rd. Dearborn, MI 48120

B. What date and approximate time did the events giving rise to your claim(s) occur?

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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

IV.

January 6" 2019 to present

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Plaintiff's Federal Income Tax Withholdings amount was increased by the IRS, WITHOUT;
plaintiff's permission,

the use of a form W4,

a Hearing,

an Assessment,

nor a signed court order from a Judge of competent jurisdiction.

Numerous attempts to correct the Federal Income Tax Withholdings at the employer (Ford Motor
Company) have been made, a call to the Internal Revenue Service Withholding Compliance Unit
requesting a release from the 2800C "Lock In" letter issued by them, was denied and a request was
issued by plaintiff for the reason a hearing was never called for (in copy), nor an assessment done
before the issuance of the "Lock In" letter, Grace Caso emplyee # 173964 cited the Treasury
Regulations used to force the wrongful increase of the Withholdings

Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
could not be measured.

Plaintiff, is at a financial deficit due to the compulsory distraint of his income/wages, at risk of loosing his
assests that cannot be replaced at present value on a later date; homestead/ place of residence, vehicle, job, and
reasonable expectation of maintaining a lifestyle here onto

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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Pro Se 2 (Rev. 12:16) Complaint and Request for Injunction

A request for an immediate injunction upon the wrongful withholdings on Plaintiff's paycheck/ income/ wages, a
return of the Federal Income Tax Withholdings to the last signed W4 by Plaintiff entered at the employer (Ford
Motor Company), a return of the sum of wrongfully collected income from the IRS at the rate of $850 a month
starting from January 2019 added up until the point of injunction should occur, further more, punitive damages
in the amount of $1.5 million shall be claimed for recompense due to the lack of ability to use the funds not
available from this wrongful action on the ability to maintain a reasonable expectation of a lifestyle and potential
loss of employement from this process

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Dep, 5 XK) oy
Signature of Plaintiff athe ce

Printed Name of Plaintiff eels ~ pL OA . i KokRA

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number

Page & of ©

JS 44 (Rev. 02/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor suppleme MJ: Grand, David R.

provided by local rules of court. This form, approved by the Judicial Conference of the Unite Filed: 09-05- :
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FOR 09052019 At 02:29 PM

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6:2:19-cv-

CIVIL COVER Judge: Hood, Denise Page

CMP SIKORA v INTERNAL REVENUE SERVI

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff

Joseph A. Sikora

Washtenaw County

CE (sk)

County of Residence of First Listed Defendant Essex County

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attomeys (If Known)

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only)

1 U.S, Government
Plaintiff

2 U.S. Government

13 Federal Question
(U.S. Government Not a Party)

04 Diversity

I. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x” in One Box for Plaintiff

(For Diversity Cases Onlv) and One Box for Defendant}
PTF DEF PTF DEF
Citizen of This State XK 1 {} 1 Incorporated or Principal Place o4 04

of Business In This State

Citizen of Another State 2 © 2 Incorporated and Principal Place a5 ms

Defendant (Indicate Citizenship of Parties in Item IID of Business In Another State
Citizen or Subject of a 13 © 3. Foreign Nation o6 6
Foreign Country
IV. NATURE OF SUIT (eiace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
cs CONTRACT TORTS. “ FORFEFTURE/PENALTY © | BANKRUPTC! OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure & 422 Appeal 28 USC 158 © 375 False Claims Act
120 Marine 7 310 Airplane

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

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1 365 Personal Injury -

© 315 Airplane Product Product Liability
Liability O 367 Health Care/

& 320 Assault, Libel & Pharmaceutical
Slander Personal Injury

© 330 Federal Employers’ Product Liability
Liability [7 368 Asbestos Personal

> REAL PROPERTY

@ 210 Land Condemnation

1 220 Foreclosure

© 230 Rent Lease & Ejectment
© 240 Torts to Land

C} 245 Tort Product Liability
© 290 All Other Real Property

7 441 Voting

1 442 Employment

© 443 Housing’
Accommodations

1 463 Alien Detainee

© 510 Motions to Vacate
Sentence

7] 530 General

7 445 Amer. w‘Disabilities - | J 535 Death Penalty

of Property 21 USC 881 {) 423 Withdrawal © 376 Qui Tam (31 USC
1) 690 Other 28 USC 157 3729(a))
© 400 State Reapportionment
_ x Tr =}. 410 Antitrust
& 820 Copyrights © 430 Banks and Banking
& 830 Patent @ 450 Commerce
1 835 Patent - Abbreviated 1 460 Deportation

1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and

0 345 Marine Product Liability 840 Trademark Cormpt Organizations
Liability PERSONAL PROPERTY ze epee AL E 1 480 Consumer Credit

21 350 Motor Vehicle $ 370 Other Fraud “ 710 Fair Labor Standards & 861 HIA (1395ff) OM 485 Telephone Consumer

© 355 Motor Vehicle 371 Truth in Lending Act & 862 Black Lung (923) Protection Act
Product Liability (4) 380 Other Personal 720 Labor/Management 3 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV

360 Other Personal Property Damage Relations © 864 SSID Title XVI 7 850 Securities/Commodities/
Injury 385 Property Damage © 740 Railway Labor Act 865 RSI (405(g)) Exchange

©] 362 Personal injury - Product Liability J 751 Family and Medical 890 Other Statutory Actions
Medical Malpractice Leave Act [891 Agricultural Acts

_CIVIERIGHTS | PRISONER PETITIONS JJ 790 Other Labor Litigation [Ea AL TAX SUITS ©] 893 Environmental Matters
7 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement J 870 Taxes (US. Plaintiff © 895 Freedom of Information

Income Security Act or Defendant) Act
© 871 IRS—Third Party oF 896 Arbitration
26 USC 7609 899 Administrative Procedure
Act/Review or Appeal of
IMMIGRATION : Agency Decision

462 Naturalization Application o) 950 Constitutionality of

Employment Other:
<1 446 Amer. w/Disabilities -] J 540 Mandamus & Other 7 465 Other Immigration State Statutes
Other 1 550 Civil Rights Actions
© 448 Education 1 555 Prison Condition
oJ 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
i Original 12 Removed from 3  Remanded from 4 Reinstatedor 5 Transferred from 4 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversi

* ): °
5th & 14th Amend,42US ch.21 sec;1983,1985, 26US sec;61,83a, 18US; 300.241, ch.31 sec.641, ch.63 sec.1341

Brief description of cause: . .
deprivation of rights; fraud leading to extortion

VIL. REQUESTED IN
COMPLAINT:

C) CHECK IF THIS IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND $ CHECK YES only if demanded in complaint:
1,500,000.00 JURY DEMAND: M Yes  INo

VII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DAT.

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JUDGE MAG. JUDGE

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Sikora, Joseph (J.A.) | of |
From: Deducts, P (P.) _

Sent: Monday, August 12, 2019 5:07 AM Exh * |
To: Sikora, Joseph (J.A.)

Subject: FW: Federal Withholding Change

Attachments: IRS Letter for Sikora.pdf

Good Morning,
Please find the below request from our payroll specialist.

“Hello Mr. Sikora — Please refer to the attached letter from the IRS. The IRS gave us the directive for changing
your tax status The W4 form was not used to change your tax status. As mentioned previously, this issue is

between you and the IRS, not Ford Motor Company. Please give the IRS a call at (855) 839-2235”

Thank you.

CLEMENT ELISHA . S
US Payroll Analyst

Email: pdeducts@ford.com
Ford Net: 44285

Confidentiality Note: This electronic message contains information which may be confidential, legally privileged or otherwise protected from disclosure. This
information is intended for the use of the addressee only. If you are not the intended recipient, you are hereby notified that any disclosure, copying, distribution, printing
or any other use or any action in reliance of this electronic message is strictly prohibited. If you have received this communication in error, please notify the sender and
destroy the original message.

Security Caveat: Please be aware that your response to this specific email may not be secure. Do not use Internet browser associated email to send us communications
which contain unencrypted confidential information (such as Bank account numbers, Credit card numbers or Social security numbers) as the integrity and security of
the message cannot be guaranteed over the internet. If this type of information is contained in your email, it must be submitted using a secure format. Repeated failure
to send confidential or sensitive information without encryption may result in rejection.

From: Sikora, Joseph (J.A.)

Sent: Thursday, August 01, 2019 1:04 PM .
To: Deducts, P (P.) <pdeducts@ford.com>

Subject: RE: Federal Withholding Change

Elisha, what is the status to my inquiry relating to my withholdings being changed without my permission ?

From: Deducts, P (P.) <pdeducts@ford.com>
Sent: Wednesday, June 19, 2019 11:34 AM

To: Sikora, Joseph (J.A.) <JSIKORA4 @ford.com>
Subject: RE: Federal Withholding Change

Hello,

We have forwarded your query to our specialist. We request you to allow additional 2-3 business day for them to
research on the same and provide you the needed clarification and assistance in this regard.

Thank you.

CLEMENT ELISHA .S
US Payroll Analyst

$F ¥) IR S Department of the Treasury
vat, Internal Revenue Service

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POBcx 149338 St 5501 In reply refer to: 0866000000
Austin. TX 78714-9338 Nov. O01, 2018 LTR 2800C wW2
Guns, «= 00000 00
00089124
BODC: NOBOD
Exl, *2

FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

Employer identification number: 38-05469190
Employee: JOSEPH A SIKORA
Social security number:
Form W-4

Dear FORD MOTOR COMPANY

WHY WE ARE WRITING TO YOU

Our records show your employee, named above, may not be entitled to
claim exempt status or more than a specified number of withholding
allowances on Form W-4G, Employee's Withholding Allcwance Certificate.
Therefore, your employee was selected for the Withholding Compliance
Program. This is a “"lock-in™ letter that specifies the withholding
rate and maximum number of withholding allowances permitted for the
employee.

WHAT YOU NEED TO DO?
You must begin withholding income tax from this employee's wages based
on the following withholding rates and allowances effective on the

first pay period after Dec. 31, 2018:

Withholding rate Cmarital status): single
Withholding allowances: 0000

DON'T ADJUST WITHHOLDING PRIOR TO THE DATE SHOWN ABOVE

This time period will provide your employee with an opportunity to
dispute our determination before you adjust the withholding.

Don't honor any current or new Form W-4@ from this employee UNLESS it
results in MORE income tax withheld than the withholding rate and
allowances listed above.

If the employee is working for you as of the date of this letter, you
must provide the employee the enclosed "Employee's Copy™ within 10
business days of receipt. (This 10-day timeframe refers to the
employee's copy only. Please see the above effective date to start
withholding the new withholding rate and allowances for the emplovee.)
You can follow any reasonable business practice to furnish the
Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.10 Filed 09/05/19 Page 10 of 73
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FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

"Employee's Copy" to the employee.

For Internal Use Only CD

If the employee named above isn't currently performing services for
you, you must still withhold based on this letter and give the
attached Employee's Capy of this letter to the employee if:

- You will be paying wages subject to income tax withholding on or
after the first pay period ending Dec. 31, 2018; OR

- You reasonably expect the employee to resume services for you
within twelve (12) months from the date of this letter; OR

- The employee is on a bona fide leave of absence that doesn't
exceed twelve (12) months; OR

- The employee has a right to reemployment by law or under
contract.

WHAT TO DO IF THE EMPLOYEE NO LONGER WORKS FOR YOU

No action is required at this time. If the employee returns to work
within twelve months, you must begin withholding income tax from the
employee’s wages based on the withholding rate stated in this letter.

THE LAW SUPPORT THESE ACTIONS

Internal Revenue Code CIRC) Section 3402 requires employers to
withhold federal income tax. Under section 31.34020f)C23)-1€9)(2) of
the employment tax regulations, we may issue this letter to notify
you that your employee isn't entitled to claim exempt status or claim
more than the maximum number of withholding allowances shown above.

Under IRC Section 3403, every employer required to withhold federal
income tax is liable for the payment of such tax. If you don't
withhold federal income tax from your employee as instructed in this
letter, you will be liable for paying the additional tax required to
be withheld.

IRC Section 3403 also states that the employer shall not be liable

to any person for the amount of any such payment. Thus, your employee
doesn't have a "cause of action" (basis for legal action} against

you to recover the amount of income tax withheld and/or prevent you
from withholding the amount directed by IRS.
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Nov. 01, 2018 LTR 2800C W2

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FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 68126-2701

For Internal Use Only GD

WHERE YOU CAN FIND ADDITIONAL INFORMATION

~ Visit our website at www.irs.gov and search keyword “withholding
compliance."

~ Publication 15 (Circular EE), Employer's Tax Guide

- Publication 51 CCircular A), Agricultural Employer's Tax Guide.

- For tax forms, instructions and publications, visit www.irs.gov or
call 1-800-TAX-FORM (1-800-829-3676).

- AGAIN, NO EMPLOYER RESPONSE TO IRS REQUIRED
HOWEVER, IF YOU NEED TO CONTACT THE WITHHOLDING COMPLIANCE UNIT

You can contact the Withholding Compliance unit by:

~ Calling 1-855-839-2235 Weekdays between 8 a.m. and
5 p.m. 3 or

- Sending a fax to 855-202-8300; or

~ Writing to the address listed below:

Internal Revenue Service
Campus Collection, Andover
Withholding Compliance Unit
310 Lowell Street, Stop 837
Andover, MA 01810

If you contact us, give us your telephone number with the hours
we can reach vou in case we need more information.

Keep a copy of this letter for your records.

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E> VERIFY NAME,TAX ENTITIES, FILING STATUS ARE CORRECT FOR 2018 W-2 REPORTING. NAME
ON PAYSTUB SHOULD MATCH SOCIAL SECURITY RECORDS.SEE YOUR PAYROLL COORDINATOR FOR { of uf.
CHANGES.IN JANUARY 2019,W-2S WILL BE MAILED TO ADDRESS OF RECORD AS OF 12/16/18.

Ford Motor Company STATEMENT OF EARNINGS AND DEDUCTIONS CHECK NUMBER : 57616621
One American Road —_ de
Dearborn, Mi 48126 EX b 3
SOC. SEC. NUMBER NAME LOCATION / DEPT NO START PAY PAY ENDING
qin SIKORA,JOSEPH A 1800 5750 2019-01-07 2019-01-13
EARNINGS / ADJUSTMENTS - DEDUCTIONS / REFUNDS REM BAL /
DESCRIPTION | HouRS | AMOUNT DESCRIPTION | AMOUNT YTD MISC CODES
STRAIGHT TIME 34.50 1201.98 _|FICA 91.09 641.69
OVERTIME PREM 7.25 252.59 _|MEDICARE 21,30 150.07
SEVEN DAY 14.61 [FEDERAL 214.28. 1997.96 {S00
: TOTAL GROSS 1469.18 |MICHIGAN 56.29 420.74 01
| UNION DUES 87.10
: TESPHE PRE-TAX 60.10 | DIRECT DEPOSIT 1026.12
ADJ TAXABLE GROSS 1409.08 TOTAL DEDUCTIONS | 1409.08
SUB WEEK BALANCE 26.00
FAMILY DAY HOURS 24.00
AVAIL
FAMILY DAY HOURS 0.00
TAKEN
YTD PRETAX SSIP/TESP 211.65
YTD FEDERAL W2 GROSS 10138.13__|NET PAY 0.00
FOR DEPOSIT ON 01-18-2049 VACATION BALANCES HOURLY RATES
INSURANCE CODE - XX DESCRIPTION HOURS _|DESCRIPTION AMOUNT
: REGULAR PAID 6 BASE
34.840
}
EXC ABS PAID 7 WAGE PRG CTR
156.000
PRORATA PAID 0
EXC ABS DUE 33

REGULARDUE D_ | 74

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E> VERIFY NAME, TAX ENTITIES,FILING STATUS ARE CORRECT FOR 2018 W-2 REPORTING, NAME 9 c f +

ON PAYSTUB SHOULD MATCH SOCIAL SECURITY RECORDS.SEE YOUR PAYROLL COORDINATOR FOR
CHANGES.IN JANUARY 2019,W-2S WILL BE MAILED TO ADDRESS OF RECORD AS OF 12/16/18.

Ford Motor Company STATEMENT OF EARNINGS AND DEDUCTIONS CHECK NUMBER : 57538826
One American Road
Dearborn, MI! 48126

SOC. SEC. NUMBER NAME LOCATION / DEPT NO START PAY PAY ENDING
=a SIKORAJOSEPH A 4800 5750 2018-12-31 2019-01-06
EARNINGS / ADJUSTMENTS DEDUCTIONS / REFUNDS REM BAL /
DESCRIPTION | Hours AMOUNT DESCRIPTION | AMOUNT | vp MISC CODES
STRAIGHT TIME 39.00 1358.76 _|FICA 173.45 550.60
OVERTIME PREM 17.50 609.70 _|MEDICARE 40.57 128.77
HOLIDAY 23.00 809.37 _ [FEDERAL 525.14 1783.68 _|S.00
SEVEN DAY 19.78 {MICHIGAN 112.67 364.45 | 01
TOTAL GROSS 2797.61 __ {UNION DUES 87.10 87.10
DIRECT DEPOSIT 1789.00
TESPHE PRE-TAX 69.68 TOTAL DEDUCTIONS | 2727.93
ADJ TAXABLE GROSS 2727.93
SUB WEEK BALANCE 26.00
FAMILY DAY HOURS 24.00
AVAIL
. FAMILY DAY HOURS 0.00
TAKEN
YTD PRETAX SSIP/TESP 181.55
YTD FEDERAL W2 GROSS 8729.05 _|NET PAY 0.00
FOR DEPOSIT ON 01-11-2019 VACATION BALANCES HOURLY RATES
INSURANCE CODE - XX DESCRIPTION HOURS _|DESCRIPTION AMOUNT
REGULAR PAID 6 BASE
34.840
EXC ABS PAID 7 WAGE PRG CTR
186.000
PRORATA PAID 0
REGULAR DUE D | 74
EXC ABS DUE 33

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.14 Filed 09/05/19 Page 14 of 28

E> VERIFY NAME,TAX ENTITIES,FILING STATUS ARE CORRECT FOR 2018 W-2 REPORTING. NAME

ON PAYSTUB SHOULD MATCH SOCIAL SECURITY RECORDS.SEE YOUR PAYROLL COORDINATOR FOR 3 of uy
CHANGES.IN JANUARY 2019,W-2S WILL BE MAILED TO ADDRESS OF RECORD AS OF 12/16/18.
Ford Motor Company STATEMENT OF EARNINGS AND DEDUCTIONS CHECK NUMBER : 57481884

One American Road
Dearborn, MI 48126

SOC. SEC. NUMBER NAME LOCATION / DEPT NO START PAY PAY ENDING
nmin SIKORA, JOSEPH A 4800 5750 2018-12-24 2018-12-30
EARNINGS / ADJUSTMENTS DEDUCTIONS / REFUNDS REM BAL /
DESCRIPTION | HOURS | AMOUNT DESCRIPTION amount | vp MISC CODES
STRAIGHT TIME 67.00 2334.28 | FICA 377.15 377.15
OVERTIME PREM 55.00 1916.20 _|MEDICARE 88.20 88.20
SHIFT PREMIUM 3.90 135.88 [FEDERAL 1258.54 1258.54 |s12
HOLIDAY 40.00 1407.60 _ | MICHIGAN 251.78 251.78 | 04
SEVEN DAY 4270 _ | DIRECT DEPOSIT 4025.45
EXCUSED ABS, 7.00 246.33 TOTAL DEDUCTIONS | 6001.12
TOTAL GROSS 6082.99
TESPHE PRE-TAX 81.87
ADJ TAXABLE GROSS 6001.12
SUB WEEK BALANCE 26.00
FAMILY DAY HOURS 24.00
AVAIL
FAMILY DAY HOURS 0.00
TAKEN
YTD PRETAX SSIP/TESP 81.87
YTD FEDERAL W2 GROSS 6001.12 _|NET PAY 0.00
FOR DEPOSIT ON 01-04-2019 VACATION BALANCES HOURLY RATES
INSURANCE CODE - Xx DESCRIPTION HOURS _|DESCRIPTION AMOUNT
REGULAR PAID 6 BASE
34.840
EXC ABS PAID 7 WAGE PRG CTR
186,000
PRORATA PAID 0
REGULAR DUE D_ | 74
EXC ABS DUE 33

> VERIFY NAME, TAX ENTITIES, FILING STATUS ARE CORRECT FOR 2018 W-2 REPORTING. NAME
ON PAYSTUB SHOULD MATCH SOCIAL SECURITY RECORDS.SEE YOUR PAYROLL COORDINATOR FOR
CHANGES.IN JANUARY 2019,W-2S WILL BE MAILED TO ADDRESS OF RECORD AS OF 12/16/18.

Ford Motor Company STATEMENT OF EARNINGS AND DEDUCTIONS CHECK NUMBER : 57428150
One American Road
Dearborn, Mi 48126

SOC. SEC. NUMBER NAME LOCATION / DEPT NO START PAY PAY ENDING
yoann SIKORAJOSEPH A 4800 5750 2018-12-47 2018-12-23
EARNINGS / ADJUSTMENTS DEDUCTIONS / REFUNDS REM BAL/
DESCRIPTION | HOURS | AMOUNT DESCRIPTION | amount | YTD MISC CODES
STRAIGHT TIME 57.50 2003.30 _|FICA 457.09 6675.33
OVERTIME PREM 14.50 505.18 _ [MEDICARE 36.74 1561.17
SEVEN DAY 25.20 _ [FEDERAL 237.65 8666.27 |S 12
TOTAL GROSS 2533.68 _|MICHIGAN 101.45 4279.43 | 01
UNION DUES 1227.46
TESPHE PRE-TAX 69.68 _ | DIRECT DEPOSIT 1931.07
ADJ TAXABLE GROSS 2464.00 TOTAL DEDUCTIONS | 2464.00
SUB WEEK BALANCE 26.00
FAMILY DAY HOURS 24.00
AVAIL
FAMILY DAY HOURS 0.00
TAKEN
YTD PRETAX SSIP/TESP 2976.29
YTD FEDERAL W2 GROSS 104690.29_|NET PAY 0.00
FOR DEPOSIT ON 12-28-2018 VACATION BALANCES HOURLY RATES
INSURANCE CODE - XX DESCRIPTION HOURS _|DESCRIPTION AMOUNT
REGULAR PAID 6 BASE
34.840
EXC ABS PAID Q WAGE PRG CTR
156.000
PRORATA PAID 0
REGULAR DUE D | 74
EXC ABS DUE 40

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.15 Filed 09/05/19 Page 15 of 28

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Internal Revenue Service

POBox 149338 St 5501 In reply refer to: 0866000000
Austin TX 78714-9338 Nov. O01, 2018 LTR 2801C W3
- a oo00000 O00
00287865
BODC: NOBOD
Exb #4

JOSEPH A SIKORA
19615 BETHEL CHURCH RD
MANCHESTER MI 48158-8721

Social security number:
Employer: FORD MOTOR COMPANY
Employer identification number: 38-05649190

Dear JOSEPH A SIKORA
WHY WE ARE WRITING TO You

Generally, the amount your employer withholds for federal income tax
is based on your Form W-4, Employee's Withholding Allowance
Certificate. However, the IRS may review whether you are entitled to
claim exempt status or a certain number of withholding allowances.

We determined you arentt entitled to claim exempt status or more than
a specified number of withholding allowances; therefore, you were
selected for the Withholding Compliance Program.

INSTRUCTIONS WE GAVE YOUR EMPLOYER(S)

We sent your employer a “lock-in letter™ instructing your employer to
begin withholding income tax from your wages based on the following
withholding rate (marital status} and allowances:

Withholding Rate (Marital Status): single
Withholding Allowances: 0000

We also instructed your emnlover(s) net to honor your current Form W-4.
or a new Form W-G from you, UNLESS it results in MORE withholding than
at the withholding rate and withholding allowances listed above.

WHAT THIS CHANGE MEANS FOR YOU
This change in your withholding rate (marital status) and/or
withholding allowances will increase the amount of tax withheld from

vour wages.

IF YOU DON'T AGREE

- You can request a review of our determination. You can call us at
the number listed below within 30 days from the date of this letter.
We will consider your explanation why you are entitled to a
different withholding rate and/or number of withholding allowances
Cor exempt status). If you file jointly, we will need to determine

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.17 Filed 09/05/19 Page 17 of 28

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Nov. 01, 2018 LTR 2801C W3
oo0000 O0
00287867

JOSEPH A SIKORA
19615 BETHEL CHURCH RD
MANCHESTER MIE 68158-8721

HOW YOU CAN BE RELEASED FROM THE WITHHOLDING COMPLIANCE PROGRAM

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You must continue to file returns and pay your tax due. If you timely
meet all your filing and payment obligations for three consecutive
years; you can request that we release you from the Withholding
Compliance Program.

WHERE YOU CAN FIND ADDITIONAL INFORMATION

- Visit our website at www.irs.gov and search keyword
"withholding compliance."

- Publication 505, Tax Withholding and Estimated Tax

- For tax forms, instructions and publications, visit
www.irs.gov or call 800-TAX-FORM (800-829-3676).

HOW TO CONTACT THE WITHHOLDING COMPLIANCE UNIT

You can call the Withholding Compliance Unit, weekdays between 8 a.m.
and 5 p.m. at 1-855-839-2235 .

You can send us the information by fax. Our fax number is
855-202-8300. Include a cover sheet with the following information:

Date:

Name:

Phone number and hours we can reach you:
Social security numbers:

Number of faxed pages:

You can write te us at the address listed below:

Internal Revenue Service
Campus Collection, Andover
Withholding Compliance Unit
310 Lowell Street, Stop 837
Andover, MA 01819

When you write, include this letter and provide in the spaces below,
your telephone number and the hours we can reach you. Keep a copy of

this letter for your records.

Telephone Number ¢ ) Hours

Case 2:19-cv-12608-DPH-DRG ECF No. 1, Pagef®%s_ Filed Bit

Fresno, CA 93888-0023

Department of the Treasury
internal Revenue Service

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ce / JOSEPH A SIKORA

8715 SHARON HOLLOW RD

\, MANCHESTER MI 48158-8661
350951 wey

Message about your 2016 Form 1040

Notice CP59
Tax Year 2016
Notice date August 6, 2018

Social Security number XXX-XX-3900
To contact us 4-800-829-0922

Your Caller ID 981010

Select code 38

Page 1 of 4 89H
Exh *S

You didn't file a Form 1040 tax return

Our records show that you haven't filed your
tax return for the tax year ending on
December 31, 2016.

What you need to do immediately

If you are required to file a tax return for 2016, please do so immediately.

¢ Complete and sign all required tax forms, include a payment for any taxes due, and
mail us your return using the envelope provided.

e if you can’t pay the amount due, pay as much as you can now and make payment
arrangements that allow you to pay off the rest over time. Visit
www.irs.gowPayments for more information about:

- Installment and payment agreements—download required forms or save time and
money by applying online if you qualify

- Automatic payment deductions from your bank account

- Payroll deductions

- Credit card payments

Or, call us at 1-800-829-0922 to discuss your options.

* You risk losing your refund if you don’t file your return. If you are due a refund for
withholding or estimated taxes, you must file your return to claim it by April 15,
2020 and any extension of time to file. The same rule applies to a right to claim tax
credits such as the Earned Income Credit.

Or if you don’t think you had to file a tax return for 2016

Complete the Response form on Page 3 to indicate whether any of the circumstances

below apply to you. Send us the form in the enclosed envelope.

Indicate whether:

You already filed a tax return for 2016 (if so, send us a signed and dated copy of the
return along with your Response form).

¢ You don’t think you are required to file for one of the reasons listed on Page 3.

Continued on back...
Case 2:19-cv-12608-DPH-DRG ECE No. 1, PagelD.19 Fill | east eae ae eh eee |
' 4 ‘ : '

Notice CP59

Tax Year 2016

Notice date August 6, 2018

Social Security number XXX-XX-3900 =
Page 2 of 4 89H

If we don’t hear from you

* |f you don’t file a tax return, or dispute this notice if you feel you've received it in
error, you May owe penalty and interest charges on the amount of tax due.

¢ You may continue to accrue penalties and interest charges on the amount of tax
due.

Next Steps

We will contact you again if:
* We need additional information or clarification about your tax return.
¢ We determine that you do need to file a tax return for 2016.

Additional information

Response form

Complete both sides of this form and send it to us in
the enclosed envelope. Be sure our address shows
through the window.

© Visit www. irs.gov/cp59

* For tax forms, instructions, and publications, visit www. irs.gov or call
1-800-TAX-FORM (1-800-829-3676).

¢ If you are outside the country and need assistance, please call 01-267-941-1000
(not a toll free number), or visit www.irs.gov.

¢ You may qualify for assistance from a professional tax assistant at a Low Income
Taxpayer Clinic that provides help at little or no charge. For additional information,
download the Low Income Taxpayer Clinic List (Publication 4134) from www. irs.gov
or call 1-800-829-3676 to request a copy.

* lf you had a mortgage interest debt reduced or discharged due to restructuring or
foreclosure, you may qualify for tax relief under the Mortgage Forgiveness Debt
Relief Act. For additional information, download Publication 4681, Canceled Debts,
Foreclosures, Repossessions, and Abandonments, from www.irs.gov or call
1-800-829-3676.

* Keep this notice for your records.

lf you need assistance, please don’t hesitate to contact us.

Fold Here
Provide your contact information
lf your address has changed, please make the changes below.
JOSEPH A SIKORA
8715 SHARON HOLLOW RD
MANCHESTER MI 48158-8661
oO 4am. O am.
opm Ol om,

Primary phone Bast time to call Secondary phone Best time to call

1. Indicate whether any of the
following circumstances apply
to you

Case 2:19-cv-12608-DPH-DRG ECF No. 1, Pafd&p.20 Filed Bit Peay Len Rp rst Al
: a hae i

Department of the Treasury Notice CPSIS
v Internal Revenue Service Tax Year 2016
ma IRS PO BOX 24035 Notice date Saptamber 24, 2018
FRESNO CA 93779-4035 Social Security number XXX-XX-3900
To contact us 1-800-829-0922
053385.889949,231314.27974 1 AB 0.408 926 Select code 8
Pe TLL gD Pet eterna eet petted behest Page 1 of 6
JOSEPH A SIKORA
19615 BETHEL CHURCH RD
053385 MANCHESTER MI 48158-8721150

We still haven't received your 2016 Form 1040

You must file your 2016 tax return

We sent you previous notices asking you to file What you need to do immediately

your Form 1040 for 2016. However, we still

File your 2016 tax return electronically or by mail
haven't received a response from you.

* Complete and sign your return, provide your current address, include a payment for
any tax due, and mail it to us in the enclosed envelope.

* File electronically through an e-file provider (only available within 2 years of the
original due date of the return).

* Pay online now at www.irs.gov/payments or mail a payment with your return.

if you can’t pay the amount due, pay as much as you can now and make payment
arrangements that allow you to pay off the rest over time. Review all of our payment
options in the payment options section of this notice.

If you think we made a mistake

Complete the enclosed Response form to tell us you already filed a return or why you
think you don't have to file one. Mail your completed Response form to us in the
enclosed envelope.

if we don't hear from yeu * We may determine your tax for you.
* Penalty and interest charges will accrue on any unpaid balance we determine you
owe.

« You risk losing your refund if you don't file your return. If you are due a refund for
withhalding or estimated taxes, you must file your return to claim it by April 17,
2020, plus any extensions of time to file. The same rule applies to the right to claim
tax credits such as the Earned Income Credit.

« Tf we owe you a refund for another tax year, your unfiled return may delay your
refund payment from for the other year.

Notice CP518

Tax Year 2016

Notice date September 24, 2018
Social Security number XXX-XX-39D0
Select code 38

Page 2 of 6

Payment options

Pay now electronically
We offer free payment options to securely pay your tax bill directly from your checking
or savings account. When you pay online or from your mobile device, you can:

* Receive instant confirmation of your payment

* Schedule payments in advance

¢ Modify or cancel a payment before the due date

You can also pay by debit or credit card for a small fee. To see all of our payment
options, visit www.irs.gav/payments.

Payment plans

if you can’t pay the full amount you owe, pay as much as you can now and make
arrangements ta pay your remaining balance. Visit www.irs.gov/paymentplan far more

information on installment agreements and online payment agreements. You can also
call us at 1-800-829-0927? to discuss your options.

Offer in Compromise

An offer in compromise allows you to settle your tax debt for less than the full amount
you owe. If we accept your offer, you can pay with either a lump sum cash payment
plan or periodic payment plan. To see if you qualify, use the Offer in Compromise Pre-
Qualifier tool on our website. For more information, visit www.irs.gov/offers.

Account balance and payment history
For information on how to obtain your current account balance or payment history, go
to www. irs.gov/balancedue.

Hf you already paid your balance in full within the past 21 days or made payment
atrangements, please disregard this notice.

i you think we made a mistake, call 1-800-829-0922 to review your account.

About your return

We received income information for your 2016 tax return.

income reported by others

We received income information about you from others (such as your employers, banks,
mortgage holders, etc.}. This information indicates that you should file a tax return for
the tax year shown above.

If you need wage and income information

You can request a wage and income transcript on Form 4506-T (Request for Transcript
of Tax Return), which is available electronically at wew.irs.gov/formspubs. You can
alse find more information about requesting transcripts at www.irs.gov/transcript.

Please keep in mind that you must include all income you receive on your yearly retum,
whether it was reported to us or not. Income includes any cash transactions, self-
employment income, or miscellaneous income you received from others. Please file your
2016 tax return and any other tax returns you haven't filed.

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Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.22 Filed Bl eee ee eee |
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Ye Department of the Treasury
Vv, Internal Revenue Service
PO BOX 24035

FRESNO CA 93779-4035

INTERNAL REVENUE SERVICE
PO BOX 24035
FRESNO CA 93779-4035

Notice CP518
Tax Year 2016

Notice date September 24, 2018
Social Security number XXX-XX-3900

To contact us 1-800-829-0927
Select code 38
Page 5 of 6

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enclased envelope. Be sure our addres:
through the window.

is

Fold here
Provide your contact information
If your address has changed, please make the changes below.
JOSEPH A SIKORA
19615 BETHEL CHURCH RD
MANCHESTER MI 48158-8721150
a am. oT oam.
C) p.m. opm.

Primary phone number Best time to call Secondary chone number Best time to call

1. Indicate which of the following
circumstances apply to you

If you already filed a tax return

4 | already filed my tax return for 2016, and completed the information below. If it has
been more than 8 weeks since you filed your return, please enclose a signed and
dated copy of the return as verification.

Name(s) shown on return

Fermts) filed

Tax return years) Tax return date(s}

Your Social Security numban'SSth Spouse's Social Security numberSP9Sh}

If the person addressed on this notice is
deceased

Date of death:

") | already filed a form 1041, Income Tax Return for Estates and Trusts, instead of a
Form 1040

Name shown on tax return

Employer tdentification number (EIN) listed on form 1047

Tax reture yearis}

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.23 MT ERs ba
cra bate ell |

Notice CP518

Tax Year 2016

Notice date September 24, 2018
Social Security number XXX-XX-390E
Select code 38

Page 6 of 6

Indicate which of the following circumstances
apply ta you -continued

lf you don’t think you had to file a tax
return for 2016

Explain why you don’t think you are required to file a tax return for 2016.

Note: the answers to these questions apply to the 2016 tax year arly.

My filing status was:

a Head of Household a Single

2 Married filing jointly a Qualified widower) with dependent child
q Married filing separately

The following applied to me:

3 twas 65 or alder O tam nota U.S. citizen or permanent resident
9 |am blind o My work was performed in another country

m1 My spouse was 65 or older a | could be claimed as a dependent on someone
4 My spouse is blind else's tax return

My total income

Reason for net filing

(f you have a refund from a prior year
that you applied to your 2016 taxes or
estimated tax payments for 2016 taxes

O | want to apply the credit to another tax return:
Note: You must file a return for 2016 to apply the prior year credit.

Tas form number Tax year ending SSH

cl | want to receive the credit as a refund check.
Note: You must file a tax return to be eligible for a refund even though you might
not be required to file.

2. Please sign and mail to us

Under penalties of perjury, to the best of my knowledge and belief, | declare that all
information | provided on this form, as well as all of the information in my attached

income tax return and accompanying schedules and statements, is true, correct, and
complete.

Date

Case 2:19-cv-12608-DPH-DRG ECF No. i9@agelD.24 Filed 09/05/19 Page 24 of 28

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FORD MOTOR COMPANY a
ONE AMERICAN ROAD STE 727E2 Exb #¢
DEARBORN MI 48126-2701

EMPLOYEE'S COPY

Employee: JOSEPH A SIKORA
Social security number:
Emnloyer: FORD MOTGR co}

Dear JOSEPH A SIKORA
WHY WE ARE WRITING TO YOU?

Generally, the amount your employer withholds for federal income tax
is based on your Form W-4, Employee's Withholding Allowance
Certificate. However, the IRS may review whether you are entitled to
claim exempt status or a certain number of withholding allowances.

We determined that you aren't entitled to claim exempt status or more
than a specified number of withholding allowances. Therefore, you
were selected for the Withholding Compliance Program.

INSTRUCTIONS WE GAVE YOUR EMPLOYERS

We sent your employer a “lock-in letter" instructing your employer to
begin withholding income tax from your wages based on the following
Withholding rate (marital status) and withholding allowances:

Withholding rate (marital status): single
Withholding allowances: 0000

We also instructed your employers not to honor your current

Form W-4 or a new Form W-4 from you, UNLESS it results in MORE
withholding than at the withholding rate and withholding allowances
shown above.

WHAT THIS CHANGE MEANS FOR YOU
This change in your withholding rate (marital status) and/or
withholding allowances will increase the amount of tax withheld from

your wages.

IF YOU DON'T AGREE

~ You can request a review of our determination. You can call us at
the number listed below within 30 days from the date of this
letter. We will consider your explanation why you are entitled
to a different withholding rate and/or number of withholding
allowances Cor exempt status). If you file jointly, we will need

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.25 Filed 09/05/19 Page 25 of 28

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FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

to determine the total number of withholding allowances you and
043799 your spouse are entitled to claim.

For Internal Use Onl

- When you call, have the following information available. If you
file jointly, you must have the same information available for
your spouse.

1. Form W-4 and worksheets. (You must complete the "Two Earners/
Multiple Jobs Worksheet" on the back of the Form W-G, if you
have more than one job or your spouse works.)

2. Most current pay stubs for all jobs.

3. Number of withholding allowances you (Cand your spouse) are
currently claiming on your Form(s) W-4.

4. The social security number and date of birth for all dependents
you are entitled to claim.

5. A copy of the most recent tax return due, including all
schedules, forms and attachments.

6. If you file jointly, your spouse's complete name, social
security number (SSN), and current employer.

- If you prefer you can write to us at the address listed below.
Send a written statement requesting a redetermination and the
information above to support your claim that you are entitled
to a different withholding rate (marital status) and/or number of
withholding allovances Cor exempt status).

- If the information justifies a change to the withholding rate
(marital status) and/or withholding allowances shown above, we
will instruct your emplover(s) to adjust your income tax
withholding accordingly.

YOU COULD BE ASSESSED A PENALTY

If there is no reasonable basis to justify the withholding rate
(marital status), withholding allowances, or exempt status claimed on
the Form W-G& you furnished to your employer, you may be subject to a
$500 civil penalty under Internal Revenue Code Section 6682 for making
a false statement about your withholding.

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Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.26 Filed 09/05/19 Page 26 of 28

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Nov. O1, 2018 LTR 2800C We
000000 00
00089132

FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

When you write, include this letter and provide in the spaces
below, your telephone number and the hours we can reach you.
Keep a copy of this letter for your records.

Telephone number ( } Hours

For Internal Use 0
Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.27 Filed 09/05/19 Page 27 of 28

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Nov. O01, 2018 LTR 2800C We
000000 00
00089131

FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

For Internal Use Only

We aren't making a determination of your ultimate tax liability. You
pay federal income tax through withholding or by making estimated tax
Payments throughout the year. Estimated tax is the method that can be
used to pay tax on income that's isn't subject to withholding. If you
don't pay enough tax throughout the year, you may have to pay a
penalty for underpayment of estimated tax.

HOW YOU CAN BE RELEASED FROM THE WITHHOLDING COMPLIANCE PROGRAM

You must continue to file returns and pay your tax due. If you timely
meet all your filing and payment obligations for three consecutive
vears, you can request that we release you from the Withholding
Compliance Program.

WHERE YOU CAN FIND ADDITIONAL INFORMATION

- Visit our website at www.irs.gov and search keyword "withholding
compliance."

- Publication 505, Tax Withholding and Estimated Tax.

- For tax forms, instructions and publications, visit www.irs.gov or
call 1-800-TAX-FORM (1-800-829-3676).

HOW TO CONTACT THE WITHHOLDING COMPLIANCE UNIT

You can call the Withholding Compliance Unit weekdays between 8 a.m.
and 5 p.m. at 1-855-839-2235 .

You can send us the information by fax. Our fax number is
855-202-8300. Include a cover sheet giving the following information:

Date:

Name:

Phone number and hours we can reach you:
Social security number:

Number of faxed pages:

You can write to us at the address listed below:

Internal Revenue Service
Campus Collection, Andover
Withholding Compliance Unit
310 Lowell Street, Stop 837
Andover, MA 01810

Case 2:19-cv-12608-DPH-DRG ECF No. 1, PagelD.28 Filed 09/05/19 Page 28 of 28

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FORD MOTOR COMPANY
ONE AMERICAN ROAD STE 727E2
DEARBORN MI 48126-2701

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¥x¥Employer: Provide this letter to your employee within 10 days of
receipt. *x

